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 8                              UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10

11   DAVID SUSKI, et al.,                     Case No. 3:21-cv-04539-SK
12                Plaintiffs,
                                              MARDEN-KANE, INC.’S REPLY IN
13         v.                                 SUPPORT OF MOTION TO DISMISS
14   COINBASE INC. and MARDEN-KANE,
     INC.,                                    Date: August 22, 2022
15                                            Time: 9:30 a.m.
                  Defendants.                 Ctrm.: C
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 1                                          INTRODUCTION
 2          Try as they might, Plaintiffs cannot avoid their contractual obligation to pursue claims
 3   arising out of their Dogecoin purchases during a Coinbase sweepstakes event on an individual
 4   basis—regardless of whether resolved in arbitration or court. Beyond Plaintiffs’ obligation to
 5 arbitrate their claims arising out of use of Coinbase services, the Court should enforce the class

 6 waiver Plaintiffs agreed to not once, but twice. The purchases which supposedly injured

 7 Plaintiffs were made pursuant to a User Agreement waiving class claims, to participate in

 8 Coinbase’s Dogecoin Sweepstakes, which had rules reinforcing the initial valid, class waiver.

 9          Plaintiffs are wrong that Discover Bank and Gentry preclude enforcing the waiver here.
10   The key concerns underpinning those decisions—e.g., the small damages at issue ($29 in
11   Discover Bank); the promotion of public health, safety, and a stable job market or the potential
12   for retaliation against low-wage employees and significant evidentiary barriers (as in Gentry);
13 or fee awards that were discretionary (as in both cases)—do not exist here. Nor do Plaintiffs’

14   belated, unsubstantiated, and inherently contradictory unconscionability claims bar the class
15   waiver’s enforcement. Indeed, Plaintiffs cannot invoke the Dogecoin Sweepstakes rules to
16   attempt to dodge their obligations under their User Agreements and then insist that those same
17   rules are unconscionable to avoid their class waiver.
18          As to their individual claims, Plaintiffs fail to adequately plead liability under any
19   theory against Marden-Kane. Seeking to shirk their heightened burden of alleging claims
20   premised on false advertising with particularity, Plaintiffs argue that they should be permitted
21   to pursue claims against Marden-Kane based on euphemisms (“business partner”), aspersions
22   (“hired gun”) and non-specific allegations of joint liability (Marden-Kane “caused” Coinbase
23   to make allegedly false representations). Nowhere, though, do Plaintiffs address the cases
24   making clear that they cannot do so.
25          Beyond Plaintiffs’ pleading failure, their fifth and sixth claims under the Consumers
26   Legal Remedies Act (CLRA) fail as a matter of law. Whether the relevant “transaction” is
27   purchasing Dogecoin from Coinbase or entering the Dogecoin Sweepstakes, Plaintiffs cannot
28   point to any “transaction” with Marden-Kane. And as decisions from this district have recently

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 1   held, no statutorily-defined “goods” or “services” are at issue that would trigger application of
 2 the CLRA. In any case, Plaintiffs failed to allow Marden-Kane to remedy their alleged injury

 3   before filing suit, and now have exacerbated their failure by pursuing claims in an improper
 4   forum. For these additional reasons, the claims against Marden-Kane should be dismissed.
 5          As for their claims based on the inaccurate theory that the Dogecoin Sweepstakes was
 6   an illegal lottery, Plaintiffs have not provided a compelling reason for the Court to alter its
 7   initial decision that the sweepstakes did not constitute an unlawful lottery. Their fundamental
 8   theory remains substantially the same: a reasonable entrant could have been misled into
 9   believing no such alternative existed. But critically, Plaintiffs do not and cannot dispute the
10   dispositive fact that a free, alternative method of entry was actually available to all persons.
11          Lastly, there is no dispute that Plaintiffs’ injunctive relief claim should be dismissed.
12   Plaintiffs’ total silence on this issue—in voluminous briefing—concedes the point.
13          In fifty pages of combined opposition briefing, Plaintiffs level many false accusations
14   against Marden-Kane and advance many irrelevant arguments.               But name-calling is no
15   substitute for detailed, factual allegations of wrongdoing, and Plaintiffs’ Third Amended
16   Complaint lacks such allegations of misconduct specifically attributable to Marden-Kane.
17   While Plaintiffs suggest that Marden-Kane is a “hired gun” who “caused” Coinbase to
18   purportedly violate the law, its Third Amended Complaint alleges no specific facts explaining
19   how Marden-Kane caused Coinbase—a sophisticated, independent company with a team of
20   inside legal counsel—to do anything.
21          For the reasons addressed below, the Court should enforce the class waiver and strike
22   the class allegations, strike the claim for injunctive relief, dismiss the lottery and CLRA claims
23   against Marden-Kane with prejudice, and dismiss all remaining claims against Marden-Kane
24   not pled with the requisite particularity. If leave to amend is granted, and it should not be after
25   four tries, then it should be coupled with a specific admonition that further amendment of the
26   complaint will require specific (and Rule 11-compliant) allegations of wrongdoing specific to
27   Marden-Kane.
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 1                                           ARGUMENT
 2   I.       California Law Does Not Bar Enforcing an Informal Complaint Resolution
 3            Process or Plaintiffs’ Double-Waiver of Class Claims
 4            Plaintiffs do not dispute that they purchased Dogecoin pursuant to a User Agreement,
 5   which govern disputes arising out of or relating to Coinbase Services. Nor do they (or could
 6   they) dispute that their claims arise out of Coinbase Services. Indeed, their alleged injury is
 7   the use of Coinbase Services—viz, purchasing or selling cryptocurrency from Coinbase. See,
 8   e.g., TAC ¶ 110 (“Plaintiffs … have lost money and property by purchasing and/or selling
 9   Dogecoins for $100 more on coinbase.com or the Coinbase app, and by paying all attendant
10   transaction costs to Coinbase.”).
11            This User Agreement required Plaintiffs to submit disputes to Coinbase through a
12   “Formal Complaint Process” for a prompt resolution and then, if not resolved, to arbitrate or
13   litigate them on an individual basis. ECF No. 33-7, Ex. 6 (User Agreement) § 7.2. The latter
14   “individual basis” requirement was reflected not only in the User Agreements, but in the
15   Dogecoin Sweepstakes rules. TAC Ex. 1 ¶ 10 (Official Rules).
16            In opposing Marden-Kane’s motion, Plaintiffs make no attempt to excuse their failure
17   to utilize Coinbase’s dispute resolution procedure—because they have no justification for
18 failing to do so. See Mot. at 4-5. Plaintiffs similarly ignore caselaw requiring compliance with

19   such contractual preconditions. E.g., United Specialty Ins. Co. v. Clean & Sober Media LLC,
20   2021 U.S. Dist. LEXIS 81911, at *9 (N.D. Cal. Feb. 19, 2021); Brosnan v. Dry Cleaning
21   Station, Inc., 2008 U.S. Dist. LEXIS 44678, at *2-3 (N.D. Cal. June 8, 2008) (“Failure to
22   mediate a dispute pursuant to a contract that makes mediation a condition precedent to filing a
23   lawsuit warrants dismissal.”). Plaintiffs having said nothing on this point, it should be deemed
24   conceded. The Court should dismiss this case entirely until Plaintiffs seek—in good faith—
25   to resolve their grievances through the dispute resolution procedures they expressly agreed to.
26            Just as Plaintiffs ignore their agreement to follow the User Agreement’s “Complaint
27 Process,” they likewise seek to evade its arbitration clause. M-K Opp. at 7-8. They should

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 1   not be permitted to do so, for all the reasons discussed in Coinbase’s Motion and Reply, which
 2   Marden-Kane incorporates here. Coinbase Mot. at 6-10; Coinbase Reply at 1-9.
 3           Noting that Marden-Kane is not a signatory to the User Agreements—an undisputed
 4 point—Plaintiffs argue that Marden-Kane cannot enforce the agreements. As discussed in

 5 Marden-Kane’s opening brief, the Court need not address the various legal theories and

 6 equitable doctrines under which Marden-Kane has standing to enforce the User Agreement’s

 7 arbitration requirement. 1 See M-K Mot. at 7. Such analysis is only necessary following a

 8   judicial determination that the arbitration provision in the User Agreement is enforceable
 9   against Plaintiffs with respect to the claims in the Third Amended Complaint.
10           Turning to the class action waiver in the Dogecoin Sweepstakes rules, Plaintiffs now
11   argue for the first time that the rules are unconscionable (M-K Opp. at 8-13) and insist that
12   Discover Bank v. Superior Court, 36 Cal. 4th 149 (2005) bars their enforcement. Not so.
13           As an initial matter, Plaintiffs failed to plead any factual allegations supporting an
14   unconscionability claim in their Third Amended Complaint. See TAC ¶¶ 92-94 (containing
15   only conclusory allegations parroting unconscionability factors under Discover Bank). In
16   California, plaintiffs must allege facts to support a legal finding of unconscionability. See Seifi
17   v. Mercedes-Benz USA, LLC, No. 12-5493, 2013 WL 2285339, at *5 (N.D. Cal. May 23, 2013)
18   (dismissing express warranty claim for failure to allege facts demonstrating that the terms were
19   overly harsh and thus unconscionable); Ofir v. Transamerica Premier Life Ins. Co., No. 17-
20   1544, 2017 WL 6059162, at *7 (S.D. Cal. Dec. 6, 2017) (dismissing breach of contract claim
21   for failure to allege facts supporting unconscionability of aviation exclusion provision in
22   insurance contract). The Court should disregard Plaintiffs’ argument, as they cannot correct
23   this pleading deficit through briefing. See, e.g., Barbera v. WMC Mortgage Corp., No. 04-
24   3738, 2006 WL 167632, at *2 n.4 (N.D. Cal. Jan. 19, 2006) (“It is axiomatic that the complaint
25   may not be amended by briefs in opposition to a motion to dismiss”).
26

27
     When addressing liability, Plaintiffs seek to hold Marden-Kane accountable for Coinbase’s
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28 alleged conduct under a quasi-agency theory. But when it comes to arbitration, Plaintiffs try to
   distance the two companies. It must pick a position—either there is an identity of interest, or not.
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 1          Even if considered, Plaintiffs’ Discover Bank argument fails. As an initial matter, the
 2   U.S. Supreme Court expressly overruled Discover Bank in AT&T Mobility LLC v. Concepcion,
 3   563 U.S. 333, 352 (2011). Plaintiffs incorrectly counter that Concepcion is inapplicable here
 4   because no valid arbitration agreement exists. M-K Opp. at 12. But that argument relies on
 5   Plaintiffs’ incorrect assertion that the Dogecoin Sweepstakes rules superseded the User
 6   Agreement, and thus no valid arbitration agreement still exists. As explained in Coinbase’s
 7   brief that argument fails. See Coinbase Reply at 6-9. Discover Bank does not control here.
 8          And even if Discover Bank controlled, Plaintiffs have not satisfied its standard. In
 9   California, a plaintiff must allege and show, inter alia, substantive unconscionability to
10   invalidate a contract provision—i.e., that contract enforcement would generate “overly harsh”
11   results or is “one-sided” despite an “absence of justification for it.” Chung Ping Turng v.
12   Guaranteed Rate, 371 F. Supp. 3d 610, 624 (N.D. Cal. 2019); Walnut Producers of Cal. v.
13   Diamond Foods, Inc., 187 Cal. App. 4th 634, 647 (2010). Class action waivers do not
14   inherently meet this standard: Discover Bank itself stated that “not all class action waivers are
15   necessarily unconscionable,” 36 Cal. 4th at 162-63, and California courts have continued to
16   enforce class waivers following Discover Bank. See, e.g.¸ Walnut Producers, 187 Cal. App.
17   4th 634, 647 (2010); Arguelles-Romero v. Super. Ct., 184 Cal. App. 4th 825, 844 (2010).
18          Nor can Plaintiffs show that the waiver is “overly harsh” or unduly “one-sided.” They
19   argue that, though worded mutually, it is “one-sided” because, as a practical matter, Coinbase
20   would not file class actions against its users. M-K Opp. at 10-11. But even functionally “one-
21   sided” waivers are not inherently unconscionable. If they were, virtually all class action
22   waivers in business-to-consumer contracts would be unenforceable in California. See Baltazar
23   v. Forever 21, Inc., 62 Cal. 4th 1237, 1248 n.4 (2016) (a provision is not “unfairly one-sided
24   merely because one side is, as a practical matter, more likely to make use of it”). Instead,
25   California courts have upheld waivers where a class action is not the only effective means of
26   enforcing plaintiffs’ rights. See, e.g., Walnut Producers, 187 Cal. App. 4th at 647 (enforcing
27   waiver because class action was not plaintiffs’ only feasible mechanism for relief, where they
28   could recover non-trivial damages in individual actions).

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 1           Further, Plaintiffs cannot establish under Discover Bank that the class action waiver is
 2 a substantively unconscionable “exculpatory contract” that immunizes defendants from

 3   liability for injury allegedly suffered by Dogecoin Sweepstakes participants. See M-K Opp.
 4   at 9-10. A contract term may be “exculpatory,” and thus substantively unconscionable, if a
 5   defendant who seeks to enforce the contract has allegedly “deliberately cheat[ed] large
 6   numbers of consumers out of individually small sums of money,” but—by operation of the
 7   challenged contract term (here, the class waiver) would be “insulate[d] . . . from liability that
 8   otherwise would be imposed under California law.” Discover Bank, 36 Cal. 4th at 161-62.
 9           Plaintiffs cannot show that is the case here: setting aside its demand for a class action
10   mechanism, their TAC alleges that they are entitled to actual and punitive damages, restitution,
11   and attorneys’ fees. See generally TAC, Prayer for Relief. And without classwide litigation,
12 Plaintiffs can still pursue redress through procedures they contractually agreed to before using

13 Coinbase’s services—the Formal Complaint Process and—if not thus resolved—via individual

14 arbitration (or individual litigation, if not compelled to arbitration). 2 See ECF 33-7 at 12.

15   Thus, the class action waiver is not an exculpatory contract term.
16           Plaintiffs next argue that this case involves “predictably [] small amounts of damages”
17   that Discover Bank contemplated. But their Prayer for Damages—which seeks statutory
18   CLRA damages ($1000 per violation), disgorgement of profits, and punitive damages—shows
19   just the opposite. See M-K Mot. at 8-9; Coinbase Mot. at 13-14. While Plaintiffs’ briefing
20   suggests that their individual claims are as low as “$100”, that briefing cannot amend the Third
21   Amended Complaint, in which the damages theories are not so limited. And even if “plaintiffs’
22

23   2 Even if the venue provision in the Official Rules (state or federal court) superseded the venue
     provision in the User Agreement (small claims court or arbitration), nothing in the Official
24   Rules purported to undo Plaintiffs’ separate, enforceable class action waiver that appears in
     both documents. Quite the contrary, in fact. See TAC ¶ 94 (Plaintiffs allege that the Official
25
     Rules provide that “[c]laims may not be resolved through any form of class action.”). Notably,
26   the User Agreement contains a “Severability” provision so that, in the event one provision is
     not enforced, the other provisions “shall not be affected.” ECF No. 33-7 ¶ 8.7. So even if the
27   venue provision in the Official Rules controlled, the remaining obligations in both the User
     Agreement and Official Rules, including the class action waivers, would remain enforceable.
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 1   lawyers are unlikely to spend contingency time on a $100, individual damages claim,” (Opp.
 2   at 10), lawyers are likely to pursue claims authorizing statutory and punitive damages and, if
 3 meritorious, mandating an award of fees. Cal. Civ. Code § 1780(a)(1), (e). That alone, is a

 4 powerfully strong incentive.

 5          For this reason, Gentry v. Superior Court, involving a Labor Code provision that made
 6 fee awards discretionary, does not support Plaintiffs’ position. Also, important public policy

 7   reasons influenced the Court’s refusal to enforce a class action waiver.           Specifically,
 8   California’s overtime wages law promotes a stable job market, promotes public health and
 9   safety and plaintiffs bringing overtime claims face “real world obstacles” such as low incomes;
10   evidentiary challenges; risk of intimidation, retaliation or even termination; economic
11   dependency on job security and other significant challenges to pursuing an individual claim.
12   42 Cal.4th 443, 784-86 (2007).
13          No such “significant disadvantages” (id. at 794) to pursuing individual relief exist here.
14   Nor do important public policies—such as the health, safety, and security of low-wage workers
15   or job market stability—require protecting traders of cryptocurrency who can afford $100 to
16   enter a sweepstakes and whose only “injury” is paying $100 to receive $100 in value of
17   Dogecoin. Plaintiffs can pursue, on their own behalf, all damages available to them (regardless
18   of venue) and if they prevail on their CLRA claim, obtain a mandatory fee award.
19   II.    Plaintiffs Cannot Excuse Their Jumbled Allegations Against “Defendants”
20          As noted in the motion to dismiss, “grouping multiple defendants together in a broad
21   allegation” of wrongdoing will not support a liability claim. See, e.g., Yu v. Design Learned,
22   Inc., 2016 U.S. Dist. LEXIS 54374, at *12-13 (N.D. Cal. Apr. 22, 2016) (granting motion to
23   dismiss). But that is exactly what Plaintiffs did; they do not and cannot suggest otherwise.
24   Throughout the Third Amended Complaint, alleged conduct of Coinbase alone—evidenced by
25   the snapshots of Coinbase’s website—is attributed to “Defendants” generally. See, e.g., TAC
26   ¶ 79 (“Defendants buried the same faint, fine-print text at the bottom of their “Opt-in” and
27   “Make a trade” webpages and mobile screens.”; referring to screenshot of Coinbase website).
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 1          In lumping Defendants together, Plaintiffs disregard their heightened burden of
 2 pleading their UCL and CLRA claims with particularity. See Kearns v. Ford Motor Co., 567

 3   F.3d 1120, 1125-27 (9th Cir. 2009). For example, Plaintiffs do not allege that Marden-Kane
 4   had any control over Coinbase’s advertising or the placement of the rules in that advertising.
 5   Nor do (or can) Plaintiffs allege that Marden-Kane had any control over Coinbase’s on-line
 6   process for opting-in to the sweepstakes. Indeed, Plaintiffs cannot allege that Marden-Kane
 7   exercised any control whatsoever over Coinbase—an independent company with its own team
 8   of inside legal counsel.
 9          Plaintiffs argue that “it makes no difference whether Defendants’ misleading ads were
10   physically disseminated from Coinbase’s website or Marden-Kane’s website; what matters is
11   that both Defendants specifically intended and caused the misrepresentations at issue to be
12   disseminated …” But the Third Amended Complaint does not allege any specific facts
13   showing that Marden-Kane “caused” Coinbase to represent anything. And simply alleging
14   that it did so is not sufficient under Plaintiffs’ heighted burden of pleading claims sounding in
15   false advertising. Doubling down on (false) conclusory allegations does not cure this fatal
16   pleading failure. Absent any specific factual allegations of specific wrongdoing by Marden-
17   Kane, all claims against it should be dismissed.
18   III.   Plaintiffs’ CLRA Claims Against Marden-Kane Fail as a Matter of Law
19                  Marden-Kane Did Not Make Any “Representation” in Any
20                  “Transaction”—as Plaintiffs’ Own TAC Establishes
21          The parties agree on what the CLRA prohibits: “any person in a transaction” from
22   “[r]epresenting that [the] transaction confers or involves rights, remedies, or obligations that it
23   does not have or involve, or that are prohibited by law.” Opp. at 14 (citing Cal. Civ. Code
24   § 1770(a)(14)). But Plaintiffs do not and cannot allege any “transaction” with Marden-Kane.
25   Plaintiffs argue “the relevant ‘transactions’ were their entries into the DOGE Sweepstakes.”
26   Id. And that “transaction” did not include Marden-Kane. See, e.g.¸TAC ¶ 30 (“Plaintiff Martin
27   immediately went on Coinbase and bought Dogecoins she would not otherwise have
28   purchased.”) (emphasis added). Because Plaintiffs cannot allege that Marden-Kane entered

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 1   into a “transaction”—“an agreement [with] a consumer”—the CLRA claim against it fails as
 2   a matter of law. 3 Plaintiffs further suggest a different transaction with Marden-Kane—the
 3   Official Rules for the Dogecoin Sweepstakes. But the rules do not “specifically name[]”
 4   Marden-Kane as a party; it is simply identified as the Administrator.
 5           Moreover, Plaintiffs do not and cannot allege any representation that Marden-Kane
 6   made. Their own allegations and arguments make this clear. Addressing the “representation”
 7   limitation, Plaintiffs’ opposition notes: “Defendants represented this by (among other things)
 8   prominently asserting in their Sweepstakes-entry solicitations: ‘Remember, you’ll still need to
 9   buy or sell $100 in Dogecoin on Coinbase by 6/10/21 for a chance to win.’” Opp. at 14 (citing
10   TAC ¶¶ 11, 28-38). But the Third Amended Complaint itself alleges that this representation
11   was made by Coinbase, not Marden-Kane. Id.; see also TAC ¶ 7 (“Coinbase directly emailed
12   Plaintiffs and millions of its users, and also displayed to them on its website and mobile app,
13   advertisements of a $1.2 million Dogecoin ‘sweepstakes.’”). And, as noted above, Plaintiffs
14   allege no specific facts showing that Marden-Kane caused Coinbase to make any
15   representation.
16                  Because the CLRA Does Not Apply to Dogecoin or Cryptocurrency
17                  Exchanges, Plaintiffs’ CLRA Claims Should Be Dismissed
18           To the extent Plaintiffs argue that the relevant CLRA “transaction” was entering the
19   Dogecoin Sweepstakes (Opp. at 14), then it clearly does not involve a good or service. Cal.
20   Civ. Code § 1770(a) (“CLRA applies only to the sale or lease of “goods or services.”). If the
21   relevant “transaction” was the purchase of Dogecoin, Marden-Kane was not a party to that
22   transaction. Indeed, Plaintiffs’ opposition highlights that the relevant transaction or “sale” did
23   not involve Marden-Kane. See Opp. at 20 (“Coinbase separately and specifically charged
24   Plaintiffs for its standalone “Coinbase Services”; emphasis added)); id. (arguing that Plaintiffs’
25   payments for the “Coinbase Services” constituted a “sale” of “services”; emphasis added).
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27

28   3Since Marden-Kane did not enter into any “transaction,” Plaintiffs’ arguments concerning
     what it supposedly “intended” are irrelevant.
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 1          Moreover, and also dispositive of Plaintiffs’ claim as Coinbase’s briefing details,
 2   cryptocurrency like Dogecoin is not a tangible “good” covered by the CLRA, and Coinbase is
 3   not otherwise providing a “service” to consumers under the statute. See Coinbase Mot. at 17-
 4   18; Coinbase Reply at 12-13; see also M-K Opp. at 15 (Plaintiffs concede that cryptocurrency
 5   is not a tangible “good” under the CLRA). Crucially, Plaintiffs fail to distinguish Jeong v.
 6   Nexo Fin. LLC, No. 21-2392, 2022 WL 174236 (N.D. Cal. Jan. 19, 2022) and Reeves v.
 7   Niantic, Inc., No. 21-5883, 2022 WL 1769199 (N.D. Cal. May 31, 2022)—decisions of the
 8   Northern District of California issued this year that are directly analogous and warrant
 9   dismissal of Plaintiffs’ CLRA claims. See Coinbase Reply at 12.
10                  Plaintiffs Cannot Excuse Their Failure to Comply with the CLRA’s
11                  Dispute Resolution and Venue Requirements
12          Consistent with the statute’s titular goal to afford “remedies” to consumers, the CLRA
13   requires a plaintiff to provide pre-suit notice so that a defendant can “correct, repair, replace,
14   or otherwise rectify the goods or services.” Cal. Civ. Code § 1782. Plaintiffs concede that
15   they did not provide such pre-filing notice. Caselaw in this Circuit explains that amendment
16   to circumvent the pre-suit failure does “not rectify the situation.” Sapan v. Lexington Mortg.
17   Corp., 2017 U.S. Dist. LEXIS 63069, at *5 (C.D. Cal. Apr. 17, 2017); Laster v. T-Mobile USA,
18   Inc., 407 F. Supp. 2d 1181, 1196 (S.D. Cal. 2005) (requiring “[s]trict adherence to the statute’s
19   notice provision” “to accomplish the Act’s goals of expeditious remediation before
20   litigation.”). Plaintiffs do not rebut—or even acknowledge—these cases dismissing with
21   prejudice CLRA claims for damages filed without pre-suit notice. See id. (“[T]he only relief
22   warranted here … is dismissal” without leave to amend); Waller v. Hewlett-Packard Co., 2011
23   U.S. Dist. LEXIS 145276 (S.D. Cal. Dec. 16, 2011).
24          Not only did Plaintiffs fail to give any pre-suit notice, their belated notice failed to
25   explain how Marden-Kane could correct, repair, rectify or replace the “goods” or “services”
26   supposedly offered by Coinbase to its users. Plaintiffs suggest that Marden-Kane should have
27   discerned what specific relief Plaintiffs sought from the First Amended Complaint. This flips
28   the burden of notice on its head. Cal. Civ. Code § 1782(a) (“the consumer shall do the

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 1   following”). If any Plaintiffs simply wanted Marden-Kane to write a check, they should have
 2   asked it to do so, and for a sum certain.
 3          Plaintiffs’ belated notice also sought unspecified relief for an uncertified class.
 4   However, the CLRA’s pre-suit notice requirement is intended to resolve the grievances of an
 5   individual consumer, not an entire class. Compare § 1782(b) (discussing pre-suit notice
 6   requirement for individual “consumer”) with id. § 1782(c) (discussing conditions when
 7   remedies offered to “consumers” will bar a CLRA class action for damages). Moreover, while
 8   Coinbase may have had information to contact its users, Marden-Kane had no such
 9   information. It did not and legally could not have access to such information under state and
10   federal financial privacy statutes and regulations. And, of course, it had no reason to contact
11   postcard entrants who fell outside the defined class.
12          Significantly, Plaintiffs never responded to Marden-Kane’s request to provide
13 additional information (a fact which they cannot dispute). That’s because their notice was

14   never intended to secure a full, quick, and pre-suit settlement but rather to “check off” a
15   statutory requirement that Plaintiffs ignored at the outset. Asking Marden-Kane for non-
16   specific relief, only after publicly accusing it of fraud, impugning its good reputation, and
17   embroiling it in an expensive class action lawsuit, is paying mere lip service to an important
18   statutory goal of pre-dispute resolution. “Permitting Plaintiff to seek damages first and then
19   later, in the midst of a lawsuit, give notice and amend would destroy the notice requirement’s
20   utility, and undermine the possibility of early settlement.” Cattie v. Wal-Mart Stores, Inc., 504
21   F. Supp. 2d 939, 949 (S.D. Cal. 2007). Because Plaintiffs failed to afford Marden-Kane a pre-
22   suit opportunity to rectify the “goods and services” (provided by Coinbase), the Court should
23   dismiss the CLRA claim against it. See Cattie, 504 F. Supp. 2d at 950 (dismissing CLRA
24   damages claim with prejudice).
25          Filing without pre-suit notice is not Plaintiffs’ only filing failure. Plaintiffs also failed
26   to file an affidavit “stating facts showing that the action has been commenced in a … proper
27   place for the trial of the action.” Cal. Civil Code § 1780(d). Plaintiffs offer to file such an
28   affidavit now. But they miss the point—this is not a proper place for a claim against Marden-

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 1   Kane, which neither “resides” in San Francisco County, nor has a “principal place of business”
 2   here. Id. And any of its conduct relevant to the Dogecoin Sweepstakes occurred in New York.
 3   That the Dogecoin Sweepstakes rules required “EACH ENTRANT … participating in the
 4   Promotion” to submit to the jurisdiction of California courts (TAC, Ex. A ¶ 10), does not mean
 5   that Marden-Kane waived its objections to being sued in a venue where it does not reside or
 6   have a principal place of business. See also id. ¶ 1 (“Participation constitutes entrant’s full
 7   and unconditional agreement to these Official Rules “) (emphasis added). Indeed, Plaintiffs
 8   have not shown that the “rules” impose any contractual obligations whatsoever on Marden-
 9   Kane which, under the rules, could not enter the Dogecoin Sweepstakes. Notably, Plaintiffs
10   dispute that Dogecoin Sweepstakes rules constitute a legally binding contract; quite the
11   contrary, they allege the rules are unenforceable. (Again, Plaintiffs cannot have it both ways.)
12           The CLRA explicitly requires Plaintiffs to pursue their claims in a “proper place.” And
13   this is not the proper place, at least as to Marden-Kane.
14   IV.     Plaintiffs’ New Allegations Based on a “Reasonable Entrant” Theory Do Not
15           Support Claims Based on an Unlawful Lottery
16           The Court previously held that the Dogecoin Sweepstakes was not an illegal lottery
17 because participants could enter for free by mailing an index card. ECF No. 53 at 13. And

18 Plaintiffs do not (and cannot) dispute the existence of this free alternative method of entry

19 (“FAME”). See Pls.’ Opp. to Coinbase Mot. at 24-25. Plaintiffs allege no new facts in the

20 TAC that would change the Court’s prior analysis. 4 Notably, Plaintiffs have not alleged that

21   any Coinbase user sending a postcard would have been refused entry to the sweepstakes.
22   Indeed, that would have been impossible since Marden-Kane could not have known if a
23   postcard entrant was also an existing Coinbase user.
24           Instead of pleading any new relevant facts, Plaintiffs again seek to rewrite California
25   lottery law to introduce a “reasonable entrant” standard. See Pls. Opp. to Coinbase Mot. at 22,
26   24. However, the Court has already rejected this argument. ECF No. 53 at 12-13. And as
27
     4 Marden-Kane incorporates by reference Coinbase’s arguments as to why dismissal of the
28
     lottery-based claims remains appropriate. See Coinbase Reply at 9-11.
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 1   explained in Coinbase’s Reply, Plaintiffs’ renewed reliance on California Gasoline Retailers
 2   v. Regal Petroleum, 50 Cal. 2d 844 (1958) remains unavailing. See Coinbase Reply at 10.
 3          Plaintiffs also incorrectly interpret the Official Rules concerning the two methods of
 4 entry into the Dogecoin Sweepstakes. Plaintiffs’ erroneous interpretation turns on the first

 5 sentence of the “Method 1” description in the sweepstakes rules, which states that account

 6 holders “must opt-in to participate in the Sweepstakes and must complete $100 USD” in

 7   Dogecoin trades during the Sweepstakes period. ECF No. 22-1 at 3. Plaintiffs assert that this
 8   means that all account holders were required to trade Dogecoin to participate rather than enter
 9   for free. But the correct interpretation of this language is that account holders “must” opt in
10   and trade Dogecoin only to enter via “Method 1”. See Coinbase Reply at 10-11.
11          In any event, Plaintiffs’ interpretation of the Official Rules is not just incorrect but
12   irrelevant to the relevant legal question—whether the Dogecoin Sweepstakes was an illegal
13   lottery. The answer is straightforward: as the Court previously held, the Sweepstakes was not
14   an illegal lottery because a free, alternative method of entry actually existed (and was used).
15 Nothing in Plaintiffs’ TAC changes this result. See Coinbase Reply at 9-11.

16                                         CONCLUSION
17          Plaintiffs offer many excuses for their many failures—failing to seek a pre-suit
18 resolution, failing to provide pre-suit notice of the CLRA claim, failing to file the requisite

19   CLRA affidavit, and so on. None sanction their failures.
20          Plaintiffs continue to insist that they are not bound by their User Agreements (which
21 they previously conceded to be valid), even though their claims clearly arise out of services

22 provided under those agreements. But the sweepstakes rules—if it is the three-party agreement

23 Plaintiffs allege that it is—did not supersede the User Agreements between two signatories.

24 And the rules reinforced that any entrant would be required to litigate claims arising out of the

25 Dogecoin sweepstakes on an individual basis. The Court should enforce the Plaintiffs’

26 agreement, reflected in both the User Agreement covering their Dogecoin purchases and the

27 rules relating to the Coinbase Dogecoin sweepstakes they entered, to litigate their claims on

28 an individual basis—regardless of where they do so.

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 1          Lastly, in their opposition, Plaintiffs double down on their efforts to paint Defendants
 2 with a broad brush of alleged wrongdoing. But even after four rounds of pleading, their most

 3 recent iteration of the complaint does not plead liability against Marden-Kane with the

 4 requisite specificity required for Plaintiffs’ claims, which are all premised on theories of falsely

 5 advertising the Coinbase Dogecoin Sweepstakes to Coinbase users.

 6   Dated: August 1, 2022                          Respectfully submitted,
 7
                                                    VENABLE LLP
 8
                                                    /s/ Laura A. Wytsma
 9                                                  Laura A. Wytsma
10                                                  Attorneys for Defendant Marden-Kane, Inc.

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